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UNITED STATES DISTRICT COURT
THE SOUTH_ERN DISTRICT OF OHIO
EASTERN DIVISION'

IN RE: DAVOL, INC./C.R. BARD, Case No. 2:18-md-2846

lNC., POLYPROPYLENE HERNIA

MESH PRODUCTS LIABILITY

LITIGATION Chief Judge Edmund A. Sargus, Jr.
Magistrate Judge Kimberly A. Jolson

This document relates to:
ALL CASES.

PRETRIAL ORDER NO. 6

Janua§y 22, 2019 Status Conference

On January 22, 2019, the Court held an in-person status conference with counsel for the
Plaintiffs’ Steering Committee (the “PSC”) and counsel for Defendants. This Pretrial Order
memorializes the conference as follows:

Case Filings Update: The parties provided the Court With an update regarding iilings.

Motion to Compel Production of Foreigl_l Regulatol_'y Documents: The Court noted that it
received the parties’ briefs and a decision is forthcoming

Rnle 301b)!§) Depositions: Counsel provided the Court with an update regarding their meet and
conferral process.

Privilege Log Update: The Court conferred with counsel regarding its proposed Privilege Log
Case Management Order. The Court indicated that the parties must abide by all federal and local
rules; however, they may stipulate to additional requirements if they choose. Defendants are
ORDERED to produce the final privilege log from MDL 1842 on or before February 1, 2019.
The PSC is ORDERED to meet and confer with Defendants on or before February 8, 2019

regarding challenges to the MDL 1842 privilege log.

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Discovel_'y Ugdates: The parties provided the Court with an update regarding MDL 2846 rolling
productions

With the consent of counsel, a portion of the conference was conducted off the record. This
portion of the conference is memorialized as follows:
Bates-Labeling: The PSC raised the issue of Defendants’ Bates-labeling deposition transcripts

and exhibits from MDL 1842. The parties are ORDERED to meet and confer on this issue in the

next 14 days.

Amendment to Case Management Order No. 8: Defendants requested an amendment to Case

Management Order No. 8. The PSC did not object to the proposed amendment Defendants are
ORDERED to submit a Word version of the proposed amendment to Chambers.

Plaintiff Profile Forms: The parties updated the Court on the status ofthe Plaintiff profile fonns.
Website U]:_ldate: The PSC updated the Court on the status of a third-party website concerning
Defendants’ products at issue in this litigation. At a prior status conference, the PSC agreed to
reach out to the third-party operating the website to assist Defendants in removing potentially
misleading information regarding their products. Based on the PSC’s update, the Court finds that
the PSC has fulfilled its obligations to the Court and Defendants With respect to this matter.
Scheduling: The next status conference Was originally scheduled for February 20, 2019. Due to

a scheduling contlict, the date will be changed, and a Notice will issue forthwith.

 

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DATE EDMUNE’}. sARGUs, JR,

CHIEF UNITED STATES DISTRICT JUDGE

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DATE KIMBERLY A'. JoL
UNITED sTATEs MAGISTRATE JUDGE

